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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


  E.K. and S.K., minors, by and through their
  parent and next friend LINDSEY KEELEY;
  O.H., S.H., and H.H., minors, by and through          Case No. 1:25-cv-00637-PTG-IDD
  their parent and next friend JESSICA
  HENNINGER; E.G., a minor, by and through              Hon. Patricia Tolliver Giles
  his parent and next friend MEGAN
  JEBELES; E.Y. and C.Y., minors, by and
  through their parent and next friend ANNA
  YOUNG; L.K., L.K., and L.K., minors, by
  and through their parent and next friend
  ANNA KENKEL; and M.T., a minor, by and
  through her parent and next friend NATALIE
  TOLLEY,

                             Plaintiffs,

  v.

  DEPARTMENT OF DEFENSE
  EDUCATION ACTIVITY; DR. BETH
  SCHIAVINO-NARVAEZ, in her official
  capacity as Director of the Department of
  Defense Education Activity; and PETER
  BRIAN HEGSETH, in his official capacity as
  Secretary of Defense,

                             Defendants.


 DECLARATION OF JESSICA HENNINGER IN SUPPORT OF PLAINTIFFS’ MOTION
                   FOR PRELIMINARY INJUNCTION

 I, Jessica Henninger, declare as follows,

        1.      The facts set forth in this declaration are based on my personal knowledge.

        2.      This declaration is made in my personal capacity as a parent, and it is not intended

 to, nor does it represent the position of the United States Government, the Department of Defense

 (DoD), or any of the Armed Services.

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